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  16
                          UNITED STATES DISTRICT COURT
  17
                        SOUTHERN DISTRICT OF CALIFORNIA
  18
       RAOUL BENNETT, on behalf of herself )
  19
                                           ) Case No.: 3:14-cv-01316-H-JLB
       and all similarly situated persons, )
  20
                                           ) MEMORANDUM OF POINTS
                                           ) AND AUTHORITIES IN
  21
                                           )
                            Plaintiff,     ) SUPPORT OF PLAINTIFF’S
  22
                                           ) MOTION FOR FINAL
                                           )
  23
                 vs.                       ) APPROVAL OF CLASS
                                           ) ACTION SETTLEMENT
                                           )
  24   Lead Info Stream Inc., dba Promedia )
  25   Leads, and LeadPoint, Inc.          ) Hon. Marilyn L. Huff
                                           )
  26
                                           )
                            Defendants     ) Date: June 13, 2016
  27
                                           ) Time: 10:30 a.m.
                                           )
                                             Courtroom 15A
  28



                                              1
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
                                  CLASS ACTION SETTLEMENT
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   1   I. INTRODUCTION
   2           Plaintiff, on behalf of herself and the certified class of individuals she
   3   represents, submits this memorandum of points and authorities in support of her
   4   motion for final approval of a class action settlement pursuant to Rule 23(e) of the
   5   Fed. R. of Civ. Proc.1 The proposed settlement was reached on the eve of trial
   6   through arm’s length bargaining lasting several months following hard fought
   7   litigation that commenced over two years ago in May of 2014.              The Court
   8   recently found the terms of the settlement agreement to be within the range of
   9   reasonableness and granted Plaintiff’s motion for preliminary approval on March
  10   3, 2016 (ECF Document 95).           Thereafter, the claims administrator, Heffler
  11   Claims Group, administered the Court approved notice procedure, and the time
  12   period to submit claims, object or request exclusion from the settlement
  13   concluded on April 25, 2016.        All tolled, 519 valid claim forms have been
  14   received to date.      There were no requests for exclusion and no objections
  15   submitted by Class Members.          This memorandum of points and authorities
  16   provides further details on the settlement, including the results of the notice and
  17   claim process, which should guide the Court in granting final approval.
  18           For the reasons set forth below, Plaintiff and Class Counsel believe the
  19   settlement is fair, reasonable, adequate, and Plaintiff requests that the Court grant
  20   final approval of the settlement terms as set forth herein.
  21   II. FACTUAL BACKGROUND AND HISTORY OF LITIGATION
  22           Plaintiff provided the following summary of the litigation in its motion for
  23   preliminary approval and includes it here again for the Court’s convenience:
  24                 Co-Defendant Lead Info Stream, Inc. (now bankrupt) engaged in the
  25   business of generating consumer leads for, among other things, home mortgage
  26   refinancing. Lead Info Stream (“LIS”) purchased records showing identities and
  27

  28   1    A true and correct copy of the fully executed Settlement Agreement is
       marked and attached to the Declaration of Matthew Righetti as Exhibit 1.
                                                 2
           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1   contact information from various sources and telemarketed the individuals using
   2   an automatic telephone dialing system to generate consumer leads interested in
   3   home mortgage refinancing.       When LIS generated a consumer lead, it then
   4   inputted that lead into co-Defendant LeadPoint’s marketing platform, where
   5   home mortgage finance companies (such as Quicken Loans and Loan Depot)
   6   could purchase the leads and solicit the individuals with home mortgage refinance
   7   products and services. LeadPoint received a commission from the sale and the
   8   remainder of the proceeds from the purchase of the leads passed to LIS.
   9               Plaintiff, Raoul Bennett, received eight separate calls during the
  10   summer of 2013 from LIS regarding home mortgage refinancing. On May 28,
  11
       2014, she filed a putative class action in the United States District Court for the
  12
       Southern District of California, captioned Raoul Bennett, individually and on
  13
       behalf of all others similarly situated, v. Lead Info Stream Inc. d/b/a Promedia
  14
       Leads and LeadPoint, Inc., Case No. 3:14-cv-01316 (the “Action”) alleging
  15
       claims for damages and injunctive relief against Defendant LeadPoint, Inc. for
  16
       using an ATDS for making unsolicited telephone calls to cellular telephone
  17
       numbers in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227,
  18
       et seq. (“TCPA”). (ECF Document No. 1).              Plaintiff further alleged that
  19
       Defendant LIS initiated the allegedly illegal telemarketing calls on behalf of co-
  20
       Defendant LeadPoint.       As a result, Plaintiff alleged that LeadPoint was
  21
       vicariously liable for LIS’ illegal telemarketing practices.
  22
                   On June 16, 2014, Defendants filed a Motion to Dismiss the
  23
       Complaint (ECF Document No. 5).           On July 24, 2014, the Court entered an
  24
       Order Granting in Part and Denying in Part the Motion to Dismiss, and the Court
  25
       dismissed Plaintiff’s Complaint without prejudice as to Defendant LeadPoint.
  26
       The Court granted Plaintiff 30 days to file an amended complaint (ECF
  27
       Document No. 12).
  28



                                              3
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1              On August 12, 2014, Plaintiff filed the First Amended Complaint for
   2   Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
   3   (ECF Document No. 13). Defendants filed a second Motion to Dismiss (ECF
   4   Document No. 14); however, the Court denied the motion on September 24, 2015
   5   (ECF Document 21). On October 15, 2014, Defendants filed its Answer to
   6   Plaintiff’s First Amended Complaint (ECF Document 22).
   7              On December 4, 2014 the Court held an Early Neutral Evaluation
   8   Conference; however, the action did not settle, and following a telephonic case
   9   management conference on January 16, 2015, the Court issued an Order
  10   Regulating Discovery and Other Pretrial Proceedings on February 5, 2015 (ECF
  11
       Document No. 35).
  12
                  Over the course of several months the parties conducted extensive
  13
       formal discovery, including special interrogatories, requests for production of
  14
       documents, requests for admissions, depositions and third party subpoenas for
  15
       documents and electronic records.    Defendant deposed Plaintiff on January 26,
  16
       2015. Plaintiff deposed Defendant LeadPoint on March 9, 2015. In addition, the
  17
       parties deposed several other individuals, including Jeff Randol, Lead Info
  18
       Stream’s global director of communications, in Fort Collins, Colorado, and
  19
       Nicholas Passallacqua (CEO of Save Big Leads), in Miami, Florida. Plaintiff also
  20
       issued formal discovery to Anthony Ferlanti (CEO of Impression Media) and
  21
       Connect   First,   Inc.   (Defendant’s   automatic   telephone   dialing   system
  22
       hardware/software provider).    Through the various subpoenas and deposition
  23
       notices requesting documents, the parties received excel spreadsheets with several
  24
       hundreds of thousands of rows of telephone data regarding the identities of
  25
       potential class members, records of all telephone calls placed by LIS using
  26
       Connect First software during the class period, and invoices, payments and other
  27

  28



                                              4
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1   records relevant to LIS’ telemarketing operations. (Decl. of Matthew Righetti, ¶
   2   5.
   3                  On March 3, 2015, a Notification of Bankruptcy was filed with the
   4   Court as to LIS, and Defendant LeadPoint simultaneously filed an emergency
   5   motion to stay (ECF Documents 36 and 37). Plaintiff opposed the motion, and
   6   the Court denied the motion without prejudice, thereby ordering the litigation to
   7   continue as to Defendant LeadPoint (ECF Document 41).
   8                  On April 30, 2015, LeadPoint filed a motion for summary judgment
   9   (ECF Document 42). Plaintiff opposed the motion (ECF Document 43). The
  10   Court granted the motion in part and denied the motion in part finding that
  11
       Plaintiff provided oral consent to receive subsequent calls from LIS during one of
  12
       the allegedly illegal telephone calls Lead Info Stream placed to Plaintiff (ECF
  13
       Document No. 48).
  14
                      On June 19, 2015, Plaintiff filed a Motion for Class Certification
  15
       (ECF Document 49). LeadPoint opposed the motion (ECF Document 53). On
  16
       August 10, 2015, the Court granted the motion with a modified class definition
  17
       that certified the following class:
  18
                All individuals in the United States and its territories: (i) for whom LIS
  19            obtained leads as a result of their providing information on
                http://safeapply.com/LendingConsultant/ between May 28, 2010 and the
  20            present and (ii) who received at least one telephone call on their cellular
                telephone that was made or caused to be made by LIS between May 28,
  21            2010 and the present through an ATDS (iii) that resulted in those
  22
                individuals’ information being posted on LeadPoint’s platform—and
                (iv) excluding any calls made after the date those individuals’
  23
                information was posted on LeadPoint’s platform.
                       After the Court granted certification, LeadPoint again sought to stay
  24
       the case pending the United States Supreme Court’s decision in Spokeo Inc. v.
  25
       Robins (ECF Document 58). Plaintiff opposed the motion, and the Court denied
  26

  27
       it on October 8, 2015 (ECF Document 69).

  28



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   1                While the motion to stay action was pending, LeadPoint moved to
   2   decertify the class (ECF Document 63) and simultaneously Plaintiff moved to
   3   modify the class definition and facilitate notice (ECF Document 66). The Court
   4   heard oral argument during the same hearing and later denied both motions on
   5   November 3, 2015 (ECF Document 77).
   6                On November 6, 2015 the Court ordered the parties to email the
   7   Court-approved notice with a slightly modified class definition to “potential class
   8   members.” (ECF Docket 82). On December 9, 2015, Gilardi & Co., LLC
   9   executed the email notice to 42,285 potential class members, comprised of all
  10   individuals who appeared on LeadPoint’s platform that were dialed by LIS on a
  11
       cell phone.
  12
                    With the January 11, 2016 final pretrial conference date looming, the
  13
       parties prepared and filed their respective exhibit lists, witness lists, trial briefs
  14
       and memorandum of facts and contentions of law (ECF Document Nos. 85-89).
  15
       Despite labor intensive trial preparation and after months of protracted
  16
       negotiations between the parties, the parties reached a settlement and filed a Joint
  17
       Motion for Settlement and requested to vacate trial dates (ECF Document 90).
  18
       The Court granted the motion and ordered Plaintiff to file her motion for
  19
       preliminary approval by January 25, 2016 (ECF Document 91).
  20
                    In reaching this settlement, LeadPoint (through its counsel) made
  21
       material representations about its financial condition both verbally and in writing.
  22
       Subject to the stipulated protective order regarding information designated as
  23
       “confidential,” LeadPoint provided audited financial information to support its
  24
       contention that any sizeable judgement in this case would force LeadPoint’s
  25
       lenders to call their secured loans and force the company into bankruptcy.
  26
       Plaintiff’s counsel has relied on that information as a material representation that
  27
       supports the substantial discount being provided to LeadPoint as well as the
  28



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        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1   reversion of unclaimed funds to Defendant. Had LeadPoint been solvent then
   2   Class Counsel would not have agreed upon the “reversionary” terms being
   3   presented to the court. Decl. of Matthew Righetti, ¶ 7.
   4               On March 3, 2016, the Court granted Plaintiff’s motion for
   5   preliminary approval and certified the following class for settlement purposes,
   6   which was slightly different than the class certified by the Court following
   7   Plaintiff’s motion for class certification:
   8         All individuals in the United States and its territories: (i) for whom LIS
   9         obtained leads between May 28, 2010 and the present and (ii) who received
  10         at least one telephone call on their cellular telephone that was made or
  11
             caused to be made by LIS between May 28, 2010 and the present through
  12
             an ATDS (iii) that resulted in those individuals’ information being posted
  13
             on LeadPoint’s platform—and (iv) excluding any calls made after the date
  14
             those individuals’ information was posted on LeadPoint’s platform.
  15
       (ECF Document 95, pg. 7).         Thereafter, Heffler Claims Group executed the
  16
       Court-approved notice process, the details and results of which are set forth
  17
       herein.
  18
          III.   KEY TERMS OF THE SETTLEMENT
  19
             A. Settlement Class
  20
             As noted above, on August 10, 2015, the Court found that Plaintiff met her
  21
       burden of demonstrating the requirements Fed. R. Civ. Proc. 23(a) and (b) had
  22
       been met and certified the following class for trial:
  23
             All individuals in the United States and its territories: (i) for whom LIS
  24         obtained leads as a result of their providing information on
             http://safeapply.com/LendingConsultant/ between May 28, 2010 and the
  25         present and (ii) who received at least one telephone call on their cellular
             telephone that was made or caused to be made by LIS between May 28,
  26         2010 and the present through an ATDS (iii) that resulted in those
  27
             individuals’ information being posted on LeadPoint’s platform—and
             (iv) excluding any calls made after the date those individuals’
  28
             information was posted on LeadPoint’s platform.


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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1   The proposed settlement includes all individuals who potentially fall within the
   2   certified class as well as individuals whose information was obtained by Lead
   3   Info Stream via other sources in addition to the SafeApply website (“potential
   4   class members.”) The Settlement Class, therefore, is specifically defined in the
   5   Agreement as:
   6
             All individuals in the United States and its territories: (i) for whom
   7         LIS obtained leads between May 28, 2010 and the present and (ii)
   8         who received at least one telephone call on their cellular telephone
             that was made or caused to be made by LIS between May 28, 2010
   9
             and the present through an ATDS (iii) that resulted in those
  10         individuals’ information being posted on LeadPoint’s platform—and
  11
             (iv) excluding any calls made after the date those individuals’
             information was posted on LeadPoint’s platform.
  12
       Settlement Agreement, § 1.30. Thus, it is consistent with the Court’s Minute
  13
       Order in so far as the settlement class includes the same individuals to whom the
  14
       parties sent notice of the order certifying the class.
  15
             B. The Settlement Fund and Payment to Class Members
  16
             Under the Settlement Agreement, LeadPoint agrees to pay the following:
  17
             1) Maximum Settlement Fund: The Maximum Settlement Fund under
  18
                 the Settlement is $845,700.00.          The Total settlement fund was
  19
                 calculated by multiplying each potential class members’ claim of twenty
  20
                 dollars ($20) per class member times the approximate number of Class
  21
                 Members (42,285).       The Settlement Fund represents the maximum
  22
                 amount LeadPoint could be responsible for paying pursuant to the
  23
                 Agreement and includes all payments for Approved Claims to Class
  24
                 Members, administrative expenses, any incentive award awarded to
  25
                 Plaintiff, and any attorneys’ fees, costs or expenses the Court may
  26
                 award to Class Counsel. Settlement Agreement, § 1.32. Any unclaimed
  27
                 moneys from the Settlement Fund and/or uncashed checks will revert to
  28



                                               8
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1           Defendant. Settlement Agreement, § 2.1(a) and Decl. of Matthew
   2           Righetti, ¶ 6.
   3        2) Monetary Award to Class Members: The monetary award for
   4           Approved Claims is twenty dollars ($20.00). Settlement Agreement,
   5           §1.1. Each Class Member had the opportunity to submit one claim, and
   6           if valid and timely submitted, said Class Member will receive $20.00.
   7           Settlement Agreement, § 1.32. The most recent report and declaration
   8           from Teresa Sutor on behalf of Heffler Claims Group shows that 519
   9           valid claims were received, 516 claims were received electronically and
  10           3 paper claims were received via regular mail. Additionally, 153 paper
  11           claims were received from individuals without Class Member ID’s and
  12           whose names did not match any of the class list. Those claims have
  13           been deemed invalid and/or fraudulent. See Declaration of Teresa Y.
  14           Sutor in Support of Motion for Final Approval. If the Court grants final
  15           approval, the monetary award to Class Members will be $10,380.00 for
  16           the 519 Class Members who submitted valid claims.
  17        3) Prospective Relief: In addition to the monetary award for Class
  18           Members who submitted timely claims, the Settlement Agreement
  19           importantly contains prospective relief as a means to ensure that
  20           LeadPoint ceases its practices of making telemarketing calls using an
  21           automatic telephone dialing system without the express consent of the
  22           party called and that it will not permit its vendors to use its platform
  23           unless vendors can verify that they obtained express consent to dial the
  24           leads that are being submitted to the platform. It states:
  25
                   LeadPoint agrees not to conduct any future marketing activities
  26               by means of ATDS (Automatic Telephone Dialing System)
  27               whereby it initiates or causes to initiate unsolicited “robocall”
                   transmissions or other telemarketing calls without express
  28
                   consent of the intended recipient of the call in the United States

                                              9
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
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   1
                   or its Territories. Furthermore, LeadPoint agrees that it shall not
                   permit vendors to conduct lead generation via LeadPoint’s
   2               platform unless LeadPoint has taken appreciable steps to verify
   3               that such vendor complies with the TCPA, including but not
                   limited to, verifying that the vendor has obtained express
   4
                   consent from the individuals prior to telemarketing them.
   5               (Settlement Agreement, §2.2)
   6      C. Results of Class Notice and Claim/Objection/Opt-Out Procedures
   7         The Declaration of Teresa Y. Sutor, Client Services Manager for Heffler
   8   Claims Group explains in detail the work performed by Heffler to administer the
   9   Court-approved notice process.
  10         The pertinent points of the Sutor Declaration state as follows:
  11       Heffler received Class Member data from Defendant on January 4, 2016,
  12         which contained 42,285 records of names, addresses and email addresses.
  13         Heffler consolidated the data into 40,666 unique email addresses belong to
  14         Class Members.
  15       After further organizing the data, Heffler sent 40,666 email notices and
  16         1,564 paper notices by mail.
  17       Heffler established a toll free number and website. Heffler received 29
  18         calls to the toll free number, the website had 6,804 visits.
  19       After Heffler sent 40,666 email notices, Heffler determined that 391 Class
  20         Member did not receive the email, so Heffler physically mailed those 391
  21         Class Members the paper notice to the address of record.
  22       195 physical paper notices were returned as undeliverable, and Heffler
  23         skip-traced those addresses and remailed the physical notices to 129
  24         updated addresses.
  25       The time period to submit claims, request exclusion from the settlement or
  26         object to the settlement expired on April 25, 2016 and as of May 12, 2016,
  27         Heffler has received 0 requests for exclusion and 0 objections from Class
  28         Members.

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   1   The detailed work performed by Heffler confirms that it provided the best notice
   2   practicable. Moreover, the lack of any objectors or requests for exclusion
   3   supports a finding that the settlement is fair, reasonable and adequate.
   4         D. Scope of the Release
   5         The scope of the release by all Class Members is narrowly tailored to the
   6   scope of Plaintiff’s allegations. It specifically releases the Released Parties from:
   7
             any and all actual claims, demands, liabilities, rights, causes of
   8         action, damages, punitive, exemplary or multiplied damages,
             expenses, costs, attorneys’ fees and or obligations (including
   9
             “Unknown Claims” as defined below), arising out of the facts,
  10         transactions, events, matters, occurrences, acts, disclosures,
             statements, misrepresentations, omissions or failures to act that were
  11         pled in the operative complaint relating to LeadPoint, Lead Info
  12
             Stream, Inc. dba ProMedia Leads and Pro Media, Inc. and any
             representatives of these persons or entities, allegedly making
  13         unsolicited telephone calls using an ATDS to cellular telephone
             numbers and any resulting damages arising therefrom pursuant to
  14
             the Telephone Consumer Protection Act. Specifically excepted from
  15         Released Claims are any claims that any governmental agency or
             governmental actor has against the Defendant and any claims
  16         Defendant may have against Lead Info Stream, Inc. d/b/a Promedia
  17
             Leads and Pro Media, Inc., or any other of Defendant’s vendors
             involved in LeadPoint’s alleged use of any ATDS to make
  18         unsolicited telephone calls to cellular telephone numbers as described
             in the Action.
  19
       Settlement Agreement, § 1.24.
  20
             Released Parties is defined in the Settlement Agreement as follows:
  21

  22         Defendant LeadPoint, Inc. and any and all of its attorneys, present or
  23
             past shareholders, owners, officers, directors, administrators,
             predecessors, successors, assigns, parents, affiliates, subsidiaries,
  24
             associates, employers, employees, agents, customers (including but
  25         not limited to Quicken Loans, Inc. and LoanDepot.com, LLC) and
             vendors Lead Info Stream, Inc. d/b/a Promedia Leads and Pro Media,
  26
             Inc., or any other representative of these persons or entities.
  27
       Settlement Agreement, § 1.25.
  28



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   1         In addition to the above Release, Plaintiff agreed as to herself only to
   2   release any and all claims, both known and unknown, and expressly waives the
   3   provisions, right and benefits of § 1542 of the California civil Code. Settlement
   4   Agreement, § 1.33.
   5         E. Opportunity to Request Exclusion or Object
   6         Pursuant to the terms of the Settlement Agreement, Class Members had the
   7   right to opt out of the Settlement or to object to its terms. Settlement Agreement,
   8   §§ 4.3-4.5. The deadline to do so was April 25, 2016, and Heffler claims Group
   9   received no objections or requests for exclusion. Nevertheless, a failure to object
  10   in writing does not prevent a Class Member from appearing in person at the final
  11   approval hearing to object in person. The parties will address any objections at
  12   the final approval hearing should anyone appear in person to object to the
  13   settlement.
  14         F. Payment of Notice and Administrative Costs by Defendant
  15         The costs of notice and settlement administration are to be paid by
  16   Defendant out of the Settlement Fund, subject to Court approval. Settlement
  17   Agreement, §1.28. Heffler Claims have incurred $70,450.00 in administration
  18   costs, which is consistent with Heffler’s initial proposal to administer the
  19   settlement. See Sutor Declaration.
  20
             G. Plaintiff’s Application for Attorneys’ Fees, Litigation Costs and
  21            Class Representative Enhancement.
  22         Pursuant to the Settlement Agreement, Plaintiff has made a request via
  23   noticed motion for attorneys’ fees and litigation costs not to exceed $282,000.00
  24   as well as a request for a class representative enhancement of $5,000.00 (ECF
  25   Document No. 96). Defendant does not oppose this motion (ECF Document No.
  26   97). The hearing date for the fees, costs and enhancement award is also set for
  27   June 13, 2016 at 10:30 a.m.
  28



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   1      IV.    ARGUMENT
   2         A. Legal Standards for Final Approval of a Class Action Settlement
   3         It is well established in the Ninth Circuit that “voluntary conciliation and
   4   settlement are the preferred means of dispute resolution.” Officers for Justice v.
   5   Civil Service Com., 688 F.2d 615, 625 (9th Cir. 1982). Class action suits readily
   6   lend themselves to compromise because of the difficulties of proof, the
   7   uncertainties of the outcome and the typical length of the litigation. “There is an
   8   overriding public interest in settling and quieting the litigation,” and this is
   9   particularly true in class action suits.” Von Bronkhorst v. Safeco Corp., 529 F.2d
  10   943, 950 (9th Cir. 1989).
  11         A class action may not be dismissed, compromised or settled without the
  12   approval of the Court. Fed. R. Civ. Proc. 23(e). The Court must determine that
  13   the settlement is fair, adequate and reasonable. See Officers for Justice v. Civil
  14   Service Comm’n, 688 F.2d 615, 625 (9th Cir. 1982); Hanlon v. Chrysler Corp.,
  15   150 F.3d 1011, 1026 (9th Cir. 1998); Fed. Rule Civ. Proc., Rule 23(e). The
  16   purpose of the requirement is “the protection of those class members, including
  17   the named plaintiffs, whose rights may not have been given due regard by the
  18   negotiating parties,” Officers for Justice, 688 F.2d at 624.
  19         Courts have broad powers to determine whether a proposed settlement in a
  20   class action is fair. Pridd v. Edelman, 883 F.2d 438, 447 (6th Cir. 1989) (“In
  21   evaluating a proposed settlement of a class action, the district court is required to
  22   examine the terms of the settlement and the process by which the settlement was
  23   arrived at, to make sure that the terms are reasonable and that the settlement is not
  24   the product of fraud, overreaching, or collusion. The fact that the plaintiff might
  25   have received more if the case had been fully litigated is no reason not to approve
  26   the settlement.”)
  27         The review and approval of a class action settlement is done in two steps:
  28   an earlier conditional review by the trial Court (which has already taken place),

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   1   and then a further review after the period during which notice is distributed to the
   2   class members for their comment or objections (i.e. where we are now). Newberg
   3   on Class Actions (4th Ed.), the “bible of class actions,” discusses the process for
   4   approving the settlement of a class action. At §11:24, “Procedure for Submitting
   5   Class Settlement for Approval,” Newberg states:
   6         “When the parties to an action reach a monetary settlement, they will
   7         usually prepare and execute a joint stipulation of settlement, which is
   8         submitted to the court for preliminary approval.        The stipulation
   9         should set forth the essential terms of the agreement, including but not
  10         limited to the amount of settlement, form of payment, manner of
  11         determining the effective date of settlement, and any recapture
  12         clause.... Usually the court will informally review these proposed
  13         settlement papers with counsel and then direct that notice of the
  14         proposed settlement and the hearing thereon be issued to all class
  15         members by mail, published notice, or a combination thereof.
  16         Counsel     for   the   class   plaintiffs   will   ordinarily   submit,
  17         contemporaneously with the motion for settlement approval in a
  18         common fund class or within a reasonable time thereafter, a petition
  19         for allowance of fees and costs from the settlement amount. Often the
  20         court may require counsel to file such a petition along with or shortly
  21         after any proffered settlement proposals so that absent class members
  22         may be able to calculate or estimate their net recoveries in evaluating
  23         the settlement, and in order to permit the court to schedule a joint
  24         hearing for approval of both the settlement and the fee petitions.
  25         Alternatively, the plaintiff’s counsel may agree at the time of
  26         submitting the settlement stipulation that they will petition for a
  27         reasonable fee not to exceed a given percentage of the common fund.”
  28



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   1   Pursuant to the Court’s preliminary approval order (ECF Document 95, pg. 10),
   2   Plaintiff filed such a petition for fees, costs and class representative enhancement
   3   at least two weeks prior to the April 25, 2016 deadline for Class Members to file
   4   claims, object or request exclusion from the settlement. (See ECF Document 96,
   5   filed on April 11, 2016).
   6         Newberg goes on to cite to the Manual for Complex Litigation (4th Ed.)
   7   which states at §30.41, “Procedure for Review and Approval:”
   8         “Approval of class action settlements involves a two-step process.
   9         First, counsel submits the proposed terms of settlement and the court
  10         makes a preliminary fairness evaluation. In some cases this initial
  11         evaluation can be made on the basis of information already known to
  12         the court, supplemented as necessary by briefs, motions, or informal
  13         presentations by the settling parties. The court may want to hear not
  14         only from counsel but also from the named plaintiffs, from other
  15         parties, and from attorneys who did not participate in the negotiations.
  16         The judge may also, at this preliminary stage or later, hear the views
  17         of the parties’ experts or seek the advice of a court-appointed expert
  18         or special master. If the court has reservations, it may advise the
  19         parties, who may wish to resume negotiations in an effort to remove
  20         potential obstacles to approval.
  21         If the preliminary evaluation of the proposed settlement does not
  22         disclose grounds to doubt its fairness or other obvious deficiencies,
  23         such as unduly preferential treatment of class representatives or of
  24         segments of the class, or excessive compensation for attorneys, and
  25         appears to fall within the range of possible approval, the courts should
  26         direct that notice under Rule 23(e) be given to the class members of a
  27         formal fairness hearing, at which arguments and evidence may be
  28         presented in support of and in opposition to the settlement.         For

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   1          economy, courts have in appropriate cases permitted the notice under
   2          Rule 23(c)(2) to be combined with the Rule 23(e) notice. Approval is
   3          required of the settlement of any action brought as a class action,
   4          regardless of whether the settlement occurs prior to certification, and
   5          even if the only claims being settled are those of the individual
   6          plaintiffs, with the class claims being dismissed without prejudice.
   7          Notice is required of any settlement of class claims and is considered
   8          advisable even if only the individual claims of the named plaintiffs are
   9          settled.”
  10   This procedure assures class members of the protection of procedural due process
  11   safeguards, and enables the Court to fulfill its role as the guardian of class
  12   interests.
  13          Now that the notice process has concluded, Plaintiff provides the details of
  14   the settlement claim process and requests that the Court conduct a final review of
  15   the terms of the settlement in conjunction therewith to determine whether the
  16   settlement is fair, adequate and reasonable.
  17
              B. The Proposed Settlement Class Meets the Standard for Final
  18             Approval.
  19                1. Sufficient Discovery Has Taken Place to Justify the Settlement.
  20          “The stage of the proceedings and the amount of discovery completed” are
  21   factors courts consider in determining the fairness, reasonableness and adequacy
  22   of a settlement. In re Warner communications Sec. Litig., 618 F.Supp.7635, 741
  23   (S.D.N.Y 1985), aff’d, 798 F.2d 35(2d Cir. 1986); Girsh v. Jepson, 521 F.2d 153,
  24   157 (3d Cir. 1975); see also Weinberger v. Kendrick, 698 F.2d 62, 75 (2d Cir.
  25   1982). This case has been vigorously litigated for nearly two years (twenty
  26   months).      During that time, there has been a considerable amount of necessary
  27   discovery served and responded to by both parties. Plaintiff’s counsel conducted
  28   substantial discovery in this case, including formal written discovery, several

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   1   depositions of Defendant and depositions of third party witnesses, and third party
   2   subpoenas for records of telephone calls made by Lead Info Stream. Defendant
   3   propounded formal written discovery to Plaintiff, took Plaintiff’s deposition and
   4   issued several third party subpoenas requesting information pertaining to
   5   Plaintiff. A detailed description of the discovery conducted was also set forth in
   6   Plaintiff’s Motion for Preliminary Approval. See Righetti Decl., ¶ 5.
   7            Thus, over the course of this litigation, the parties have obtained an
   8   abundance of information through discovery to assist them in properly analyzing
   9   their respective positions. Suffice to say the settlement reached is not the product
  10   of “guesswork,” but rather the product of hard work by the attorneys throughout
  11   the two years this case has been litigated. As the Court is aware, this is not a case
  12   that settled based on an “informal exchange” of information. The case was
  13   diligently prosecuted, hotly contested and only settled on the eve of trial.
  14              2. Presumption of Fairness.
  15         Courts presume the absence of fraud or collusion in negotiation of the
  16   settlement unless evidence to the contrary is offered.         In short, there is a
  17   presumption that the negotiations were conducted in good faith.            Newberg,
  18   §11.51, In re Chicken Anti-Trust Litigation, 560 F. Supp 957, 962 (MD GA
  19   1980). Pridd v. Edelman, 883 F.2d 438, 447 (6th Circuit 1989); Mars Steel Corp.
  20   v. Continental Illinois National Bank and Trust Co., 834 F.2d 677, 681 (7th Cir.
  21   1987).    Courts do not substitute their judgment for that of the proponents,
  22   particularly when settlement has been reached by experienced counsel familiar
  23   with the litigation. Hammon v. Barry, 752 F. Supp 1087 (DDC 1990); Steinberg
  24   v. Carey, 470 F. Supp 471 (SD NY 1979); In re Armored Car Anti-Trust
  25   Litigation, 472 F. Supp 1357 (ND GA 1979); Sommers v. Abraham Lincoln
  26   Federal Savings & Loan Association, 79 F.R.D. 571 (ED PA 1978).          While the
  27   recommendations of counsel proposing the settlement are not conclusive, the
  28   Court can properly take them into account, particularly if they have been involved

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   1   in litigation for some period of time, appear to be competent, have experience
   2   with this type of litigation and significant discovery has been completed. See
   3   Newberg §11.47.
   4         A presumption of fairness in a class action settlement agreement exists
   5   where:    (1) the settlement is reached through arm’s-length bargaining; (2)
   6   investigation and discovery are sufficient to allow counsel and the court to act
   7   intelligently; (3) counsel is experienced in similar litigation; and (4) the
   8   percentage of objectors is small. Newberg (3d ed. 1992) § 11.41, p. 11-91.
   9         The proposed settlement before the Court meets each of these criteria.
  10   First, it was reached through arm’s-length bargaining, which involved
  11   conferences with Magistrate Burdkhardt on two separate occasions (one in person
  12   and one telephonically). In addition to the Mandatory Settlement Conference that
  13   took place on October 19, 2015, the parties sought guidance and assistance from
  14   Magistrate Judge Burkhardt regarding specific terms of the agreement during a
  15   telephonic conference on December 4, 2015. See ECF Docket No. 84. During all
  16   settlement discussions, which took place simultaneously as the case was being
  17   litigated, the parties conducted all of their negotiations at arm’s-length, and, in
  18   spite of a mutual desire to resolve the case, always in an adversarial manner.
  19   During the final telephone conference, Magistrate Burkhardt expressed approval
  20   of the parties’ efforts and described the proposed settlement as the best possible
  21   scenario in light of the parties’ respective positions. The settlement is thus fair,
  22   reasonable, adequate and in the best interest of the Class. Declaration of Matthew
  23   Righetti, ¶8.
  24         Second, the settlement only came to be following substantial amounts of
  25   formal discovery, the exchange of thousands of pages of documents and
  26   electronic records produced pursuant to third-party subpoenas, several
  27   depositions, two motions to dismiss, two motions requesting stays, a motion for
  28   summary judgment and motion for class certification. A substantial investigation

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   1   was conducted by Plaintiff and her counsel through the use of formal and
   2   informal discovery (described above), and these efforts sufficiently allowed
   3   counsel and the Court to act intelligently. It should be plainly evident to the
   4   Court based on the manner in which this case was litigated that this settlement is
   5   not the product of collusion or some other fraudulent behavior. The parties
   6   litigated this case vigorously, through class certification, and only settled on the
   7   eve of trial.
   8          Third, Class Counsel is experienced in similar litigation and endorses the
   9   settlement in light of the risks and complexities Plaintiff faced in proceeding
  10   through trial as well as the dire financial state of the Defendant. It made little
  11   sense to take the risk necessary to achieve a victory at trial when Defendant
  12   would not be solvent to pay the judgment in any event. All of these factors
  13   support the conclusion that allowing Class Members the opportunity to make a
  14   claim in line with other similar TCPA settlements is fair, reasonable and
  15   adequate. See Decl. of Matthew Righetti, which endorses and supports the
  16   settlement.
  17             3. Both Parties Face Significant Challenges.
  18          Arriving at a settlement acceptable to both parties was no small
  19   achievement. LeadPoint and its counsel felt strongly about their ability to prevail
  20   on the affirmative defense of express consent in light of evidence linking Plaintiff
  21   to a website containing a consent clause. Conversely, Plaintiff believed strongly
  22   in her argument that Defendant had “reverse-engineered” consent due to the lack
  23   of any proof that Plaintiff had entered her information on the website at issue.
  24   Moreover, even assuming she had inputted her information into the “consent”
  25   form, Plaintiff believed strongly that the consent did not apply to LeadPoint or
  26   constitute express consent to be dialed by LIS pursuant to the consent’s express
  27   terms. Separately, LeadPoint believed strongly that Plaintiff would not be able to
  28   establish that LeadPoint was vicariously liable for LIS’s conduct, whereas

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   1   Plaintiff believed that LeadPoint’s testimony sufficiently demonstrated control
   2   over LIS such that Plaintiff could affirmatively show Lead Info Stream acted as
   3   LeadPoint’s agent.
   4         Additionally, as the Court may recall, this is a case with imperfect record
   5   keeping and LIS, the primary actor with access to the actual call records it placed,
   6   declared bankruptcy in March of 2015. As a result, Plaintiff faced substantial
   7   hurdles both in ascertaining membership in the class and in her ability to
   8   demonstrate damages by determining the frequency of the calls placed to specific
   9   class members. There simply were no precise records or data demonstrating
  10   where or how LIS obtained Plaintiff’s information and the information of any
  11   other potential Class Member. Similarly, Lead Info Stream used two separate
  12   dialing software companies, SafeSoft Solutions and ConnectFirst, during different
  13   time periods, thus it would have been a difficult and a painstaking process at best
  14   to calculate damages based on per call violations. The only reasonable solution to
  15   this problem was to provide notice to all individuals whose information was
  16   submitted to LeadPoint’s platform by LIS after being dialed on a cell phone and
  17   allow them the opportunity to submit a claim, regardless of how LIS obtained
  18   their information. Decl. of Matthew Righetti ¶ 9 and 11.
  19         The terms of the proposed agreement; however, provided the opportunity
  20   to receive compensation to all individuals who could have potentially been dialed
  21   illegally by Lead Info Stream -- regardless of whether they provided some type of
  22   consent -- and had their information sold on LeadPoint’s platform. This outcome
  23   eliminated the risk of problems associated with Defendant’s inadequate record
  24   keeping, which would have pervaded the entire trial no doubt. In sum, both
  25   parties faced substantial risks and a most uncertain outcome if these issues were
  26   to proceed to trial, and as a result, the risks, complexities and uncertainties of the
  27   case further support preliminary approval of the settlement.
  28



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   1
                4. The Settlement has Achieved a Fair Result for the Class
   2               Members Who Submitted Claims.
   3         The proposed settlement in this case created a common fund totaling
   4   $845,700.00. Class Members were provided notice consistent with the Court-
   5   approved notice procedure and were given the opportunity to submit a claim form
   6   to receive up to twenty dollars ($20.00). The amount per claim afforded to class
   7   members is consistent with other similar TCPA litigation that has been approved
   8   by federal courts in California. See, e.g. Rose v. Bank of Am. Corp., Case No. 11-
   9   cv-02390-EJD [claims made settlement approved where class members’ cash
  10   award is between twenty dollars ($20.00) and forty dollars ($40.00) per claim,
  11   depending on the number of valid claims submitted]. See also Malta v. Federal
  12   Home Loan Mortg. Corp., 2013 WL 444619, *7 (S.D. Cal, Feb. 5, 2013) [Order
  13   granting preliminary approval of claims made settlement wherein if each class
  14   member submitted a claim each class member would receive two dollars ($2.00),
  15   but if only 1% to 5% of class members submitted claims, each would be entitled
  16   to between $42.76 and $213.80].
  17         Admittedly, in this case the claim rate was not impressive. For example, as
  18   of April 7, 2016 – nearly one month after notices were emailed/mailed, the claim
  19   rate was 1.61%, including the 153 paper claims that were submitted without a
  20   Claim ID. Recognizing that the claim rate was below the claim rate expected by
  21   the parties, Plaintiff and Defendant agreed to send a reminder notice via email
  22   and regular mail to Class Members, even though a reminder notice was not
  23   contemplated by the settlement agreement. Heffler Claims sent the reminder
  24   postcard via email and regular mail on April 12, 2016, nearly two weeks before
  25   the April 25, 2016 deadline to submit a claim, request exclusion or file an
  26   objection. See Decl. of Teresa Sutor. In the end, the reminder notice did little to
  27   increase the total number of submitted claims.
  28



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   1            5. The Settlement Includes Prospective Relief
   2         Importantly, in addition to the $20.00 monetary award for the 519 Class
   3   Members who submitted valid and timely claims, the Settlement Agreement
   4   includes prospective relief. As a part of the Settlement Agreement, LeadPoint has
   5   agreed not to conduct future marketing activities by means of ATDS (Automatic
   6   Telephone Dialing System) whereby it initiates or causes to initiate unsolicited
   7   “robocall” transmissions or other telemarketing calls without express consent of
   8   the intended recipient of the call in the United States or its Territories.
   9   Furthermore, LeadPoint has agreed that it shall not permit vendors to conduct
  10   lead generation via LeadPoint’s platform unless LeadPoint has taken actual steps
  11   to verify that such vendor complies with the TCPA, including but not limited to,
  12   verifying that the vendor has obtained express consent from the individuals prior
  13   to telemarketing them. Decl. of Matthew Righetti, ¶ 10.
  14            6. The Low Claim Rate Should Not Prevent Final Approval.
  15         The fact that relatively few claimants filed valid claims should not deter the
  16   Court from approving the settlement. “The fact that the number of claims that
  17   were ultimately filed were less than anticipated does not have any effect on the
  18   negotiated Settlement Agreement.” Bellows v. NCO Fin. Sys., Inc., No. 07-CV-
  19   1413 W (AJB), 2009 WL 35468, at *7 (S.D. Cal. Jan. 5, 2009), citing Beecher v.
  20   Able, 441 F.Supp. 426 (S.D.N.Y.1977). This is a consumer class action, and
  21   historically consumer class actions do not result in as high a response rate as other
  22   types of class actions, such as wage and hour class actions. Here, Heffler Claims
  23   Group administered the notice as ordered by the Court and took the additional
  24   step of sending a reminder notice to class members urging Class Members to
  25   submit claims ahead of the April 25, 2016 deadline. Thus, proper notice was
  26   given, a claims procedure that liberally permitted the making of claims was
  27   implemented, and the procedure only required the Class Member to include a
  28   claim ID and physical address for the claim to be valid, which served to prevent

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   1   fraudulent claims.      (In this case, 153 individuals evidently learned of the
   2   settlement and submitted paper claims without Claim ID numbers. These 153
   3   individuals’ names and contact information did not appear on the class list and it
   4   was determined by Heffler that they were fraudulent claims, thus they were
   5   excluded).
   6
             C. The Low Claim Rate Should Not Affect the Court’s Ruling On
   7            Plaintiff’s Motion for Attorneys’ Fees, Reimbursement of Litigation
   8            Costs or Request for Class Representative Enhancement.
   9         Lastly, Plaintiff requests that the Court grant Plaintiff’s motion for
  10   attorneys’ fees, reimbursement of litigation costs and request for class
  11   representative enhancement, despite the low claim rate. The Supreme Court has
  12   rejected the argument that the fees must be proportional with the damages
  13   recovered. City of Riverside v. Rivera, 477 U.S. 561, 581 (1986); see also
  14   Johnson v. Eaton, 80 F.3d 148 (5th Cir.1996); Carroll v. Wolpoff & Abramson,
  15   961 F.2d 459 (4th Cir.1992), cert. denied, 505 U.S. 905 (1992).
  16         The Court is no doubt aware of the amount of work conducted by Plaintiff
  17   and her counsel to achieve the settlement in this case. It could not have been
  18   predicted that so few class members would file claims, and efforts were
  19   specifically made to ensure that the claim process would be streamlined to
  20   encourage the filing of claims. Consequently, no reduction of counsel's fees is
  21   justified or necessary here. In requesting a percentage of the common fund for
  22   attorneys’ fees, Plaintiff’s counsel is requesting a negative multiplier that reduces
  23   Plaintiff’s counsel’s lodestar by almost half.
  24         D. Costs of Administration.
  25         Lastly, the Settlement Agreement calls for Defendant to pay costs of
  26   administration from the Settlement Fund, which are set forth in the Declaration of
  27   Teresa Sutor at ¶ 16.
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   1      V. CONCLUSION
   2         For the reasons set forth herein, Plaintiff respectfully requests that this
   3   Court grant final approval to the settlement and grant the related relief. The
   4   settlement is a fair result to those class members who submitted claims. The
   5   settlement is agreed upon by the parties and is recommended by experienced
   6   counsel in class action cases. Granting final approval will avoid further expense
   7   and uncertainty of litigation and provide a benefit to the Plaintiff and Class
   8   Members who submitted valid claims.
   9

  10                                                  Respectfully submitted,
  11                                                  RIGHETTI GLUGOSKI, P.C
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  13   Dated: May 16, 2016                            s/ Michael Righetti
  14
                                                      Class Counsel

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        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR FINAL APPROVAL OF
                                  CLASS ACTION SETTLEMENT
